Case 2:05-cr-20227-SHI\/| Document 22 Filed 08/24/05 Page 1 of 2 Page|D 24

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Western Division AUG 2b pH 32 l 5
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UNITED sTATEs oF AMERICA aa.%U3 3333G,QMTM
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-vs- Case No. 2: 05c1'20227-001MaMS

CLAUDY REDMOND

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

' The F ederal Public Defender is appointed as counsel for the Defendant. The defendant is
to pay $100 per month into the Registry of this Court to offset the cost of counsel.

TYPE OF APPOINTMENT
- Ail purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this 17"‘ day of August, 2005.

é.f/H/);)rm @J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Offlce

Assistant Federal Public Defender
Intake

CLAUDY REDMOND

This cloci ment entered on the docket sheet ln compuance
with H.\|e 55 and/01 32rb\ FHCrP on

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 22 in
case 2:05-CR-20227 Was distributed by f`aX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

